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UNITED STATES DISTRICT COURT DISTRICT OF CONNECTICUT

ANDRIL SPRUTSKO
COMPLAINT

Plaintiff,

ws. PLAINTIFF DEMANDS TRIAL BY JURY

EAGLE SHIP MANAGEMENT LLC,
THRASHER SHIPPING LLC and the MV
THRASHER in rem

Defendants.

 

ACTION UNDER SPECIAL RULE FOR SEAMEN TO SUE WITHOUT SECURITY OR
PREPAYMENT OF FEES

PARTIES, JURISDICTION and VENUE

Plaintiff, complaining of the Defendants, respectfully states and alleges upon
information and belief:

4 Jurisdiction is predicated on 28 U.S.C. § 1331 pursuant to the "Jones Act"
46 U.S.C. § 10304, 28 U.S.C. §1332 diversity of citizenship, and under 28 U.S.C. §
4333, Admiralty and General Maritime jurisdiction pursuant to the doctrine of
unseaworthiness.

2. At all relevant times Plaintiff was a citizen and resident of the Ukraine.

os At all times hereinafter mentioned, upon information and belief, defendant
Eagle Ship Management LLC (“EAGLE”) was a Marshall Islands Limited Liability
Corporation, with its principal place of business in Stamford, CT and has no members
who are citizens or residents of the Ukraine.

4. At all times hereinafter mentioned, upon information and belief, defendant

Thrasher Shipping LLC (“Thrasher”) was a Marshall Islands Limited Liability

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Corporation, with 7 plincieal place of business in Stamford, CT and has no members
who are citizens or residents of the Ukraine.

5. MV THRASHER is a 53,360-ton bulk carrier registered in the Marshall Islands.

6. Atall times hereinafter mentioned Thrasher was the owner or owner pro hoc vice
of the MV THRASHER.
7. Atall times hereinafter mentioned Eagle operated, managed and controlled the
MV THRASHER.
8. At all times hereinafter mentioned Eagle employed Plaintiff in the capacity of a
seaman and member of the crew of the MV THRASHER, pursuant to an employment
contract between Eagle and Plaintiff.
9. The amount in controversy greatly exceeds the $75,000 required to maintain
diversity jurisdiction.

10.MV THRASHER is either currently or will be during the pendency of this suit
ocated within this district.

FIRST CAUSE OF ACTION JONES ACT AND UNSEAWORTHINESS

11. On or about September 16, 2018 Plaintiff was employed as an ordinary seaman,
an entry level position aboard the MV THRASHER.
12. On that date he was ordered to sandblast in proximity of the vessel’s cargo
natch. He was working under the direction of the chief mate, the head of the vessel’s
deck department.
13. To properly reach the areas he needed to sandblast Plaintiff had to stand ona

pipe, which required him to steady himself by placing his left hand on the hatch.

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14. As Plaintiff was sandblasting and steadying himself with his left hand on the
hatch, his supervisor the chief mate decided to open or close the hatch, without warning
Plaintiff nor looking to make sure that the hatch was clear of all personnel.

15. As the chief mate or someone under his supervision opened or closed the hatch
pone of the rollers of the hatch ran over Plaintiffs left hand traumatically amputating his
eft thumb and index finger, rendering Plaintiff permanently not fit for sea.

16. The injuries were a result of the Defendants’ negligence in failing to properly
nstruct and supervise Plaintiff, failure to conduct a risk analysis as required by the ship’s
Safety Management System, not providing Plaintiff with a platform to stand on, when
atop the piping, failure to warn Plaintiff that they were going to open or close the hatch,
failure to look to make sure that no one was in the vicinity of the hatch prior to opening
pr closing the hatch, not having proper procedures to make sure no one was in the
vicinity hatch prior to attempting to open or close the hatch.

17. The conditions, acts and omissions stated above rendered the MV THRASHER
unseaworthy, which was the proximate cause of Plaintiff's injuries.

18. As aresult of the Defendants’ negligence and the unseaworthiness of the MV
THRASHER, Plaintiff has incurred past medical expenses, loss of earnings, pain and
suffering and will incur future medical expenses, loss of earnings / earning potential,
pain and suffering in an amount to be determined at trial, which vastly exceed the

jurisdictional amount required to maintain diversity jurisdiction .

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SECOND CAUSE OF ACTION IN REM AGAINST THE M/V THRASHER

19. Plaintiff realleges each and every allegation contained in paragraphs 1 to 18 in
the complaint.

20. MV THRASHER is presently located in or will be located in this District during
the pendency of this suit and is or will be subject to the jurisdiction of his Honorable
Court.

21. By reason of the aforesaid, Plaintiff has a maritime lien against the MV
THRASHER for his claim of unseaworthiness.

WHEREFORE, Plaintiff demands:

a. judgment be entered against the in personam Defendants jointly and
severely on against the Defendants in an amount to be proved at trial, on all causes of
action in addition to costs, pre-trial and post-trial interest.

b. judgement be entered against the MV THRASHER in rem, that process in
due form of law, according to the Fed. R. Civ. P. and Supplement Rules for Certain
Admiralty and Maritime Claims, issue against the vessel citing all persons having any
interest therein to appear and answer all matters aforesaid;

c. Plaintiffs lien be declared a valid maritime lien upon the whole of the
vessel in rem; that after due proceedings there be a judgement entered in favor of
Plaintiff against MV THRASHER for an amount proven at trial together with pre and post
judgement interest and costs.

d. The MV THRASHER be condemned and sold free and clear of all liens
and encumbrances to satisfy the judgement herein, that Plaintiffs maritime lien be

recognized, enforced and paid in preference and priority over all other claims

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